Case 2:21-cv-04797-FWS-AGR Document 30 Filed 09/14/21 Page 1 of 7 Page ID #:238
Case 2:21-cv-04797-FWS-AGR Document 30 Filed 09/14/21 Page 2 of 7 Page ID #:239




  suppress (count 6) evidence / Brady violations under §1983, and injunctive relief to
  prevent similar conduct in the future (count 7). The City and Mr. Nam move to
  dismiss these claims. The Complaint alleges two factual bases for the suppression
  claims:

         1. The Tolled-Investigation Claim: Deputy City Attorney John Nam told the
            Pasadena Police “to hold back on both investigations and reports [of the
            Toland encounter] until Mr. Toland’s time to sue had run out, two years
            later.” Compl. ¶ 35.

         2. The Prior Use of Force Claim: “The City Attorney’s Office instructed the
            Police Department not to tell the Deputy District Attorney assigned to the
            Toland case that Officer McFarland had been the shooter in the Warren case
            [a use-of-force incident that occurred about 4 weeks before the Toland
            incident], despite the fact that it was obvious Brady evidence, and despite
            the fact that Toland’s express defense at his preliminary hearing was that
            Officer McFarland had used excessive force without justification.” Id. ¶ 29.

         It appears that a whistleblower from Pasadena PD disclosed these facts to
  the Superior Court in the criminal case against Plaintiff in November 2020. See
  Compl. ¶¶ 151-152, 163, 186. After these materials were disclosed, the City
  Attorney’s Office tried to get them back saying there were inadvertently produced,
  but the Court (Superior Court Judge Terri Schwartz) disagreed and had some
  choice words for the City and DA. Shortly thereafter, in April 2021, the DA’s
  Office dismissed the charges against Plaintiff, saying these materials made it
  impossible to pursue the charges. Compl. ¶¶ 187-200.

            Defendants move to dismiss Plaintiff’s Brady claims on many bases: that
  these are not Brady materials, that tolling of the administrative investigation was
  permitted under state law, that Mr. Nam as a civil City Attorney cannot be liable
  for these allegations, and that Mr. Nam has qualified immunity. Plaintiff opposes.

II.      LEGAL STANDARD

             Federal Rule of Civil Procedure (“Rule”) 8 requires a plaintiff to present a
      “short and plain statement of the claim showing that the pleader is entitled to
      relief.” Fed. R. Civ. P. 8(a)(2). Under Rule 12(b)(6), a defendant may move to
      dismiss a pleading for “failure to state a claim upon which relief can be granted.”
      Fed. R. Civ. P. 12(b)(6).



      CV-90 (12/02)              CIVIL MINUTES – GENERAL                Initials of Deputy Clerk CB

                                                 2
Case 2:21-cv-04797-FWS-AGR Document 30 Filed 09/14/21 Page 3 of 7 Page ID #:240




          To defeat a Rule 12(b)(6) motion to dismiss, the complaint must allege
  enough facts to “give the defendant fair notice of what the . . . claim is and the
  grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555
  (2007). Labels, conclusions, and “a formulaic recitation of the elements of a cause
  of action will not do.” Id. The complaint must also be “plausible on its face,” that
  is, it “must contain sufficient factual matter, accepted as true, to ‘state a claim to
  relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
  (quoting Twombly, 550 U.S. at 570). A plaintiff’s “factual allegations must be
  enough to raise a right to relief above the speculative level.” Twombly, 550 U.S. at
  555. “The plausibility standard is not akin to a ‘probability requirement,’ but it
  asks for more than a sheer possibility that a defendant has acted unlawfully.” Iqbal,
  556 U.S. at 678.

         A complaint may be dismissed under Rule 12(b)(6) for the lack of a
  cognizable legal theory or the absence of sufficient facts alleged under a
  cognizable legal theory. Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th
  Cir. 1988). When ruling on a Rule 12(b)(6) motion, “a judge must accept as true all
  of the factual allegations contained in the complaint.” Erickson v. Pardus, 551 U.S.
  89, 94 (2007). But a court is “not bound to accept as true a legal conclusion
  couched as a factual allegation.” Iqbal, 556 U.S. at 678 (2009) (internal quotation
  marks omitted).

         A court generally may not consider materials other than facts alleged in the
  complaint and documents that are made a part of the complaint. Anderson v.
  Angelone, 86 F.3d 932, 934 (9th Cir. 1996). However, a court may consider
  materials if (1) the authenticity of the materials is not disputed and (2) the plaintiff
  has alleged the existence of the materials in the complaint or the complaint
  “necessarily relies” on the materials. Lee v. City of Los Angeles, 250 F.3d 668, 688
  (9th Cir. 2001) (citation omitted). The court may also take judicial notice of
  matters of public record outside of the pleadings and consider them for purposes of
  the motion to dismiss. Mir v. Little Co. of Mary Hosp., 844 F.2d 646, 649 (9th Cir.
  1988); Lee, 250 F.3d at 689-90.

         In federal court, “[in] alleging fraud or mistake, a party must state with
  particularity the circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b).
  “Rule 9(b) requires a plaintiff averring fraud to plead the ‘who, what, when, where,
  and how’ of the alleged misconduct.” Vess v. Ciba-Geigy Corp. USA, 317 F.3d
  1097, 1106 (9th Cir. 2003).



  CV-90 (12/02)               CIVIL MINUTES – GENERAL                 Initials of Deputy Clerk CB

                                              3
 Case 2:21-cv-04797-FWS-AGR Document 30 Filed 09/14/21 Page 4 of 7 Page ID #:241




III.      DISCUSSION

              Plaintiff asserts that Mr. Nam’s recommendation to toll the administrative
       investigation into the use of force against Plaintiff and that the Pasadena PD’s late
       disclosure of McFarland’s prior use of force both violated Brady. The Court
       therefore begins with Brady.

        I.     Brady’s Disclosure Requirements

              Brady v. Maryland, 373 U.S. 83, 87 (1963) held that prosecutors are
       constitutionally obligated under the Fourteenth Amendment to disclose “evidence
       favorable to an accused ... [that] is material either to guilt or to punishment.”

              The Supreme Court has identified “three components of a true Brady
       violation: The evidence at issue must be favorable to the accused, either because it
       is exculpatory, or because it is impeaching; that evidence must have been
       suppressed by the State, either willfully or inadvertently; and prejudice must have
       ensued.” Strickler v. Greene, 527 U.S. 263, 281–82 (1999).

              Under Brady, “[t]he test for materiality is whether the requested evidence
       might affect the outcome of the trial.” United States v. Alvarez, 358 F.3d 1194,
       1211 (9th Cir. 2004). This is a “broad obligation.” Strickler, 527 U.S. at 281
       (1999). While the prosecutor is “not required to deliver his entire file to defense
       counsel,” they are required to turn over evidence that is both favorable to the
       defendant and material to the case. United States v. Bagley, 473 U.S. 667, 675
       (1985). Brady requires the prosecutor to disclose not just exculpatory evidence, but
       other favorable evidence, including evidence that impeaches a prosecution witness.
       See Giglio v. United States, 405 U.S. 150, 154 (1972).

          Brady does not, however, require the prosecutor to create evidence that does
   not already exist, see United States v. Sukumolachan, 610 F.2d 685, 687 (9th Cir.
   1980) (Brady “does not require the government to create exculpatory material that
   does not exist”), nor does the prosecutor violate Brady when they “fail to use a
   particular investigatory tool.” Arizona v. Youngblood, 488 U.S. 51, 59 (1988).

       II.     The Claims Based on the Tolled Investigation Are DISMISSED.

          Plaintiff asserts that Mr. Nam’s recommendation to toll the administrative
   investigation into the use of force against Plaintiff was a Brady violation. This
   claim fails.

       CV-90 (12/02)              CIVIL MINUTES – GENERAL                 Initials of Deputy Clerk CB

                                                  4
Case 2:21-cv-04797-FWS-AGR Document 30 Filed 09/14/21 Page 5 of 7 Page ID #:242




         First, that Pasadena PD’s investigation into the Toland use-of-force was
  allegedly “tolled” does not appear to implicate Brady. Plaintiff argues that the
  results of that investigation would have been favorable to him and material to the
  criminal charges against him that arose out of the incident. But as noted, the
  investigation was not undertaken then, and Brady did not require it to have been.
  Thus, Plaintiff’s Brady claim is tantamount to demanding that the police create the
  desired evidence (conduct the investigation, resulting in a report) because it did not
  exist. This is not required by Brady. Plaintiff relies on cases wherein officers who
  withheld information (by refusing to write it down) were found to have violated
  Brady, but in those cases, the information already existed. Plaintiff’s claim here is
  not that the Defendants withheld existing information; rather, the gravamen of
  Plaintiff’s claim is that the department should have created the information—i.e.,
  conducted the administrative investigation and produced the result—and this is
  beyond what Brady requires.

         Furthermore, California Gov. Code § 3304(d)(2)(G) required the police
  department to toll the administrative investigation pending the criminal case
  against Plaintiff. That section reads, “If the investigation involves a matter in
  criminal litigation where the complainant is a criminal defendant, the one year
  time period shall be tolled during the period of that defendant’s criminal
  investigation and prosecution.” Cal. Gov. Code § 3304(d)(2)(G) (emphasis added).
  Plaintiff argues, however, that Mr. Nam advised the department to toll the
  investigation based not on this section but expressly in order to run out the clock
  on the two-year statute of limitations for Plaintiff to file a civil suit. But California
  law required the administrative investigation to be tolled, Brady did not require it
  to be undertaken, and Mr. Nam’s subjective motivation does not transform this
  situation into a constitutional claim. See, e.g., Brigham City, Utah v. Stuart, 547
  U.S. 398, 404 (2006) (“Our cases have repeatedly rejected this approach [of
  considering an officer’s subjective motivation]. An action is ‘reasonable’ under the
  Fourth Amendment, regardless of the individual officer’s state of mind, ‘as long as
  the circumstances, viewed objectively, justify [the] action,’ ” and citing cases).
  Plaintiff’s position is therefore contrary to well-established law.

         Plaintiff’s claims based on the tolled investigation are therefore dismissed.
  Because Plaintiff’s legal theory is not cognizable, and because nothing presented at
  oral argument suggested these claims could be salvaged by amendment, the Court
  finds that amendment would be futile and will not grant leave to amend these
  claims.


  CV-90 (12/02)               CIVIL MINUTES – GENERAL                  Initials of Deputy Clerk CB

                                              5
Case 2:21-cv-04797-FWS-AGR Document 30 Filed 09/14/21 Page 6 of 7 Page ID #:243




 III.     The Claims Based on the Prior Use of Force are DISMISSED with
          Leave to Amend.

        Defendants argue that McFarland’s prior use of force was not Brady material
  because it was not a “founded” or “sustained” allegation of misconduct. As such, it
  did not have to be disclosed so there was no Brady violation.

         Defendants draw their argument that only “founded” or “sustained”
  allegations of misconduct are Brady material from Association for Los Angeles
  Deputy Sheriffs v. Superior Court of Los Angeles County, 8 Cal.5th 28 (2019)
  (“ALADS”). But ALADS does not so hold. In ALADS, the California Supreme
  Court simply explained that the Los Angeles County Sheriff’s Department
  considers founded or sustained allegations of misconduct to be Brady material, but
  the Court did not adopt that view itself. Thus, ALADS does not support
  Defendants’ argument that only founded or sustained allegations of misconduct
  can be Brady material. At oral argument, Defendants acknowledged a paucity of
  caselaw on this question. The Court thus denies the motion insofar as it calls for
  the Court to decide as a matter of law that McFarland’s prior use of force was not
  Brady material.

          However, it became apparent at oral argument that the claims based on the
  prior use of force are inadequately pled for other reasons.

         First, it is not clear against whom this claim is asserted. At oral argument,
  the Court inquired whether it was pled only against the City Attorney’s Office, or
  also against Mr. Nam, because the Complaint was unclear. Plaintiff’s counsel did
  not respond directly, but indicated he did not know whether Mr. Nam or other
  deputy city attorneys were involved. This should certainly be cleared up by
  amendment.

         Second, the Complaint fails to mention whether Plaintiff made a Pitchess
  motion that might have yielded information about McFarland’s prior use of force.
  “This [Pitchess motion] statutory scheme provides that peace officer personnel
  records are confidential and may be discovered only pursuant to the procedures set
  forth in the Evidence Code.” People v. Gutierrez, 112 Cal. App. 4th 1463, 1472
  (2003). Because the Complaint fails to mention that a Pitchess motion was made or
  that there was misconduct relative to such a motion, Defendants moved to dismiss
  on that ground. Plaintiff’s opposition did not respond to this point. Only at oral
  argument and in response to the Court’s inquiry did Plaintiff state that a Pitchess
  motion was made during the criminal proceeding. The timing of that motion was

  CV-90 (12/02)              CIVIL MINUTES – GENERAL                 Initials of Deputy Clerk CB

                                             6
Case 2:21-cv-04797-FWS-AGR Document 30 Filed 09/14/21 Page 7 of 7 Page ID #:244




  not clear. Such allegations are clearly significant to Plaintiff’s claims and certainly
  should have been included in the Complaint, or at a minimum, mentioned in the
  opposition. Certainly, Plaintiff should have added Pitchess-related allegations by
  filing an amended Complaint, as was his right. See Fed. R. Civ. P. 15(a)(1)(B). The
  Court sees no reason to further address the substance of the motion where such
  important allegations were omitted from the Complaint.

        The Court will therefore grant the Motion as to the prior-use-of-force Brady
  claims, but with leave to amend.

 IV.      CONCLUSION

       For the foregoing reasons, the Court GRANTS Defendants’ Motion to
  Dismiss Counts 5, 6, and 7.

        The Complaint may be amended but only as to the claims based on the
  disclosure of McFarland’s prior use of force.

         Should Plaintiff file an amended Complaint, the Court reminds Counsel that
  they must comply with Fed. R. Civ. P. 8, which requires a “short and plain
  statement…” The original Complaint reads like a closing argument, and is filled
  with extraneous allegations, argument, and rhetoric that only obscure the operative
  factual allegations. Responding to such a Complaint is unnecessarily onerous for
  Defendants, and determining its adequacy is unnecessarily onerous for the Court.
  Should a similarly excessive First Amended Complaint be filed, the Court may
  strike it for failure to comply with Rule 8.

         As it may take some time to revise the Complaint to comply with Rule 8
  (and not simply add allegations), Plaintiff may have 21 days from the issuance of
  this Order to file a First Amended Complaint. If a First Amended Complaint is not
  filed by that deadline, the dismissed claims will be deemed dismissed with
  prejudice.

          IT IS SO ORDERED.




  CV-90 (12/02)               CIVIL MINUTES – GENERAL                Initials of Deputy Clerk CB

                                              7
